Case 3:22-cv-00424-AGS-DDL   Document 166-6   Filed 04/30/25   PageID.2554   Page
                                   1 of 35




                         EXHIBIT6
          DEFENDANTS RESPONSE TO PLAINTIFF'S FIRST
          SET OF INTERROGATORIES & SUPPLEMENTAL
                        RESPONSES
       Case 3:22-cv-00424-AGS-DDL                                  Document 166-6    Filed 04/30/25   PageID.2555     Page
                                                                         2 of 35




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             COMMUNITY COLLEGE DISTRICT
         8
                                                        UNITED ST ATES DISTRICT COURT
         9
                                       FOR THE SOUTHERN DISTRICT OF CALIFORNIA
        10
             JUDY GEORGE, et al.,                                                   Case No.: 3:22-cv-424-L-AGS-DDL
        11                                                                          Dept.: 5B
                                     Plaintiffs,                                    Judge Andrew G. Schopler
        12                                                                          Magistrate: Judge David D. Leshner
                         V.
        13
             GROSS MONT CUYAMACA                                                    SAN DIEGO COMMUNITY
'-"-
'-"-    14   COMMUNITY COLLEGE DISTRICT                                             COLLEGE DISTRICT RESPONSE
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~            GOVERNING BOARD, et al,                                                TO DORA MEZA'S
:z:
if)     15                                                                          INTERROGATORIES, SET ONE
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                                     Defendants.
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Cl!:
                                                                                    Action Date:March 30, 2022
<(      17                                                                          Trial date: December 12, 2025 (final
                                                                                                pretrial conference)
        18
             PROPOUNDING PARTY:                                        DORA MEZA, Plaintiff
        19
             RESPON DJNG PARTY:                                        SAN DI EGO COMMUN ITY COLLEGE DISTRICT,
        20
                                                                       Defendant
        21
             SET NO.:                                                  ONE
        22
                         Pursuant to California Code of Civil Procedure section 2030, et seq., Defendant
        23
             SAN              DIEGO               COMMUNITY                  COLLEGE          DISTRICT   ("Defendant"      or
        24
             "Responding Party") makes the followin g responses and objections to the
        25
             Interrogatories. These responses and objections to the Interrogatories are                                 made
        26
             solely for the purpose of this action.                            Each answer is subject to all objections as
        27
             to competence,
        28
             SAN DIEGO COMMUNITY COLLEGE DI STRICT RESPONSE                                               3:22-cv-424-L-AGS-DDL
             TO DORA M EZA'S INTERROG ATORI ES, SET ONE

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        Case 3:22-cv-00424-AGS-DDL                                    Document 166-6   Filed 04/30/25   PageID.2556   Page
                                                                            3 of 35




              relevance, materiality, propriety, and admissibility 111 any and all objections and
          2   grounds that would require the exclusion of any statement herein if the
          3   Interrogatories were asked of, or any statement or admission contained herein were
          4   made by a witness present and testifying in court, all of which objections                                 and
          5   grounds are reserved and may be interposed at time of tria l.
          6                The following responses are based on information presently available                           to
          7   Responding Party, and except for explicit facts admitted herein, no incidental or implied
          8   adm issions are intended hereby. The fact that Responding Party has answered part or
          9   all of the Interrogatory is not intended, and shall not be construed to be waived by
         10   Responding Party of all or any part of any objection to any Interrogatory. To the
         11   extent any and all of the Interrogatories call for information which                                constitutes
         12   information or material prepared in anticipation of litigation, or for trial, or
         13   information or material covered by the work product doctrine, or which constitutes
I.I..
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0        14   information which is privileged by virtue of the attorney client privilege, Responding
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:c            Party objects to each and every such Interrogatory and thus will not supply or render
(/)      15
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<l'.     16   any information or material protected from discovery by virtue of the                                    work
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         17   product doctrine or attorney client privilege.
         18               To the extent that these Interrogatories assume facts that have not been
         19   established or are not known to this Responding Party, they are objected to.
         20                Responding Party has made a diligent search and inquiry in order to gather
         21   information in responsive to these interrogatories. However, Responding                                  Party
         22   specifically reserves its right to supplement its responses to these interrogatories as
         23   discovery and investigation is continuing.
         24                                              RESPONSE TO INTERROGATORIES
         25   INTERROGATORY NO.1:
         26                State all reasons why Plaintiff was placed on administrative leave on August 22,
         27   2022, and describe in detail the specific factors that led to the decision, including but
         28                                                                            2
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                                 '\1 ltNff-Y-€ O b-t-£<:IB- DIS-T-Rte'f-RESPONSE,------ -- - ------'lr-')4:r=~-+=-,~;._n-A<H
               TO DORA MEZA'S I NTERROGATORI ES, SET ONE

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         Case 3:22-cv-00424-AGS-DDL                                    Document 166-6   Filed 04/30/25   PageID.2557     Page
                                                                             4 of 35



                     not limited to the role of Plaintiffs religious exemption in the determination.
              2     RESPONSE TO INTERROGATORY NO.1:
              3                  Objection. Responding Party objects to the interrogatory on the grounds that it is
              4     overbroad and calls for an extensive narrative response, and is compound. Without
              5     waiving the foregoing objections, Responding Party responds as fo llows: As described
           6        in Vice Chancellor Gregory Smith's August 16, 2022 email correspondence to Plaintiff,
           7        at its June 9, 2022 meeting the Board of Trustees directed the District to continue
           8        requiring all employees to be vaccinated against COVID- 19 or have an approved legal
           9        exemption and reasonable accommodation to work whi le being unvaccinated.                             While
          10        the D istrict granted Plaintiffs re ligious exemption, the District determined                          that
          11        reasonable accommodations to allow Plaintiff to work whi le remaining unvaccinated
          12       could not be made at that time. The District's determination was based on a variety of
          13       factors, including Plaintiffs essential job duties, the level of close contact with others
 [.L.,
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 0        14       required to perform her essential job duties, and the availability of other protective
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VJ        15       measures to adequately protect her health and safety and the health and safety of others.
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          16       Based on these factors, the District determined that it was not feas ible to reasonably
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<l'.     17        modify Pla intiffs work environment, working conditions, and level of close                          contact
         18        with others within the parameters recommended by federal, state, and local health
         19       authorities. Additionally, the aggregate and individual effect of employees who were
         20       on leave as an accommodation for a vaccination exemption became an undue hardship
         21       on SDCCD because it was unable to hire individuals to "backfill" for the employees
         22       who were on leave, and it could not continue indefinitely to conduct its operations
         23       appropriately and effectively without having employees working in thosepositions.
         24                   Discovery and investigation continue and Responding Party reserves the right to
         25       amend or supplement this response.
         26       INTERROGATORY NO. 2:
         27                   Identify al l SDCCD personnel who were involved in the decision to place
         28                                                                             3
                  SAN DIEGO COMMUN ITY COLLEGE DISTRICT RESPONSE                                            3:22-cv-424-L-AGS-DDL
                  TO DORA MEZA'S I NTERROGATORIES, SET ONE

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        Case 3:22-cv-00424-AGS-DDL                                   Document 166-6   Filed 04/30/25   PageID.2558     Page
                                                                           5 of 35




              Plaintiff on administrative leave in August 2022, and state whether any of those
          2   individuals expressed concerns, objections, or alternative recommendations regarding
          3   Plaintiff's work status.
          4   RESPONSE TO INTERROGATORY NO. 2:
          5               Objection. Responding Party objects that the interrogatory is overly broad. The
          6   interrogatory is also vague and ambiguous as to the term "work status," and is
          7   compound. Without waiving the objections and subject to them, Responding Party
          8   responds as follows: Vice Chancellor Greg Smith, Risk Manager Frank Fennessey, and
          9   General Counsel Ljubisa Kostic. These individuals did not express concerns,
         10   objections, or alternative recommendations regarding Plaintiff's placement on paid
         11   administrative leave.
         12               Discovery and investigation continue and Responding Party reserves the right to
         13   amend or supplement this response.
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0        14   INTERROGATORY NO. 3:
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5:       15               Describe the process SDCCD followed to determine whether                                 Plaintiff's
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<!'.     16   continued presence at work after receiving a re ligious exemption would pose a risk to
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         17   workplace safety, and state whether SDCCD conducted an " undue hardship" analysis
         18   is defined by the Supreme Court in Groff v. DeJoy, 600 U.S. 447 (2023).
         19   RESPONSE TO INTERROGATORY NO. 3:
        20                Objection. Responding Party objects to the interrogatory as being compound, and
        21    on the grounds that the interrogatory is overly broad                           and vague and ambiguous as to
        22    time. The interrogatory also calls for a legal conclusion, is duplicative oflnterrogatory
         23   No. 1, and is compound. Without waiving the foregoing objections, Responding Party
         24   responds as follows: From the beginning of the COVID-19 pandemic,                                      SDCCD
         25   continuously received, reviewed, and followed federal, state, and local laws and
         26   g uidance, including from the Centers for Disease Control and Prevention (CDC),
         27   California Department of Public Health (CDPH), and Cal/OSHA; attended weekly
         28                                                                           4
              SAN DIEGO COMMUNITY COLLEGE DISTRICT RESPONSE                                                3:22-cv-424-L-AGS-DDL
              TO DORA MEZA'S INTERROGATORIES, SET ONE

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          Case 3:22-cv-00424-AGS-DDL                                   Document 166-6    Filed 04/30/25   PageID.2559       Page
                                                                             6 of 35




                public health meetings; and consulted with broad constituent groups including                                union
            2   members and representatives. As described in Vice Chancellor Gregory Smith's August
            3   16, 2022 email correspondence to Plaintiff, at its June 9, 2022 meeting the Board of
            4   Trustees directed the District to continue requiring all employees to be vaccinated
            5   against COVID-19                             or have         an   approved    legal exemption    and    reasonable
            6   accommodation to work while being unvaccinated. While the District                                         granted
            7   Plaintiffs               religious              exemption,        the   District   determined   that    reasonable
            8   accommodations to allow Plaintiff to work while remaining unvaccinated could not be
            9   made at that time. SDCCD did conduct an undue hardship                                    analysis. The District's
           10   determination was based on a variety of factors, including Plaintiffs essential job
           11   duties, the level of close contact with others required to perform her essential job duties,
           12   and the availability of other protective measures to adequately protect her health                             and
           13   safety and the health and safety of others. Based on these factors, the District determined
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0          14   that it was not feasible to reasonably modify Plaintiffs work environment, working
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r/'J       15   conditions, and level of close contact with others within the parameters recommended
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 -<        16   by federal, state, and local health authorities. Additionally, the aggregate and individual
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<!'.       17   effect of employees who were on leave as an accommodation for a vaccination
           18   exemption became an undue hardship on SDCCD because it was unable to hire
           19   individuals to " backfill" for the employees who were on leave, and it could not continue
          20    indefinitely to conduct its operations appropriately and effectively without                                having
          21    employees working in those positions.
          22                Discovery and investigation continue and Responding Party reserves the right to
           23   amend or supplement this response.
           24   INTERROGATORY NO. 4:
           25                State whether SDCCD conducted any individualized assessment of                             Plaintiffs
           26   ability to safely perform her job after granting her religious exemption, and if so,
           27   describe the proves, findings, and whether SDCCD determined that accommodating
           28                                                                             5
                SAN DIEGO COMMU ITV COLLEGE DISTRICT RESPONSE                                                   3:22-cv-424-L-AGS-DDL
                TO DORA MEZA'S INTERROGATORIES, SET ONE

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        Case 3:22-cv-00424-AGS-DDL                                        Document 166-6      Filed 04/30/25    PageID.2560      Page
                                                                                7 of 35



                   Plaintiff wou ld impose a "substantial increased cost" on its operations as required by
             2     Groff v. DeJoy, 600 U.S. 447 (2023).
             3     RESPONSE TO INTERROGATORY NO. 4:
             4                   Objection. Responding Party objects to the interrogatory on the grounds that it is
             5     vague and ambiguous as to the phrase "safely perform her job." Responding Party
             6     further objects to the interrogatory on the grounds that it calls for a legal                            conclusion.
          7        The interrogatory is also unintelligible as to the word "proves," is compound, and is
          8        duplicative of Interrogatory No. 1. Without waiving the foregoing                                        objections,
          9       Responding Party responds as follows: Yes, SDCCD conducted an individualized
         10       assessment of Plaintiffs                                ability to safely perform her job after granting her religious
         l1       exemption. As described in Vice Chancellor Gregory Smith's August 16, 2022 email
         12       correspondence to Plaintiff, at its June 9, 2022 meeting the Board of Trustees directed
         13       the District to continue requiring all employees to be vaccinated against COVID-19 or
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0        14       have an approved legal exemption and reasonable accommodation to work while being
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(/)      15       unvaccinated. While the District granted Plaintiffs religious exemption, the                                 District
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        16        determined that reasonable accommodations to allow Plaintiff to work while remaining
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        17        unvaccinated could not be made at that time. SDCCD did conduct an undue hardship
        18       analysis. The District's determination was based on a variety of factors, including
        19       Plaintiffs essential job duties, the level of close contact with others required to perform
        20       her essential job duties, and the availability of other protective measures to adequately
        21       protect her health and safety and the health and safety of others. Based on these factors,
        22       the District determined that it was not feasible to reasonably modify Plaintiff's                                work
        23       environment, working conditions, and level of close contact with others within the
        24       parameters recommended by federal, state, and local health authorities. Additionally,
        25       the aggregate and individual effect of employees who were on leave as                                               an
        26       accommodation for a vaccination exemption became an undue hardship on SDCCD
        27       because it was unable to hire individuals to "backfill" for the employees who were on
        28                                                                                    6
                 SAN DIEGO COMMUNITY COLLEGE DISTRICT RESPONSE                                                      3:22-cv-424-L-AGS-DDL
                 TO DORA MEZA'S INTERROGATORIES, SET ONE

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       Case 3:22-cv-00424-AGS-DDL                                     Document 166-6   Filed 04/30/25   PageID.2561     Page
                                                                            8 of 35




         1   leave, and it could not conduct its operations appropriately and effectively without
         2   having employees working in those positions.
         3                Discovery and investigation continue and Responding Party reserves the right to
         4   amend or supplement this response.
         5   INTERROGATORY NO. 5:
         6                Describe all considerations SDCCD took into account when deciding whether to
         7   allow Plaintiff to return to work before March 6, 2023, and whether SDCCD determined
         8   that doing so wou ld create an " undue hardship" under the Groffv. DeJoy, 600 U.S. 447
         9   (2023) standard.
       10    RESPONSE TO INTERROGATORY NO. 5:
        11                Objection. Responding Party objects to the interrogatory on the grounds that it is
        12   overbroad, calls for an extensive narrative, and is vague and ambiguous as to time.
        13   Responding Party further objects to the interrogatory on the grounds that it calls for a
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0       14   legal conclusion, and is compound. Without waiving the foregoing                                      objections,
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 J:
ifJ     15   Responding Party responds as fo llows: After being placed on paid admin istrative leave
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z<(          in August 2022, Plaintiff was always permitted to return to work before March 6, 2023
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<t'.    17   so long as she complied with SDCCD' s COVID-19 protocols. As to Plaintiff's
        18   placement on paid administrative leave from August 2022 through March                                  2023, the
        19   District's determination was based on a variety of factors, including Plaintiff's essential
       20    job duties, the level of close contact with others required to perform her essential job
       21    duties, and the availability of other protective measures to adequately protect her health
       22    and safety and the health and safety of others. Based on these factors, the District
       23    determined that it was not feasible to reasonably modify Plaintiff's work environment,
       24    working conditions, and level of close contact with others within the parameters
       25    recommended by federal, state, and local health authorities. Additionally, the aggregate
       26    and individual effect of employees who were on leave as an accommodation for a
       27    vaccination exemption became an undue hardship on SDCCD because it was unable to
       28                                                                              7
             SA ' DIEGO COMMUN ITY COLLEGE DISTRICT RESPONSE                                                3:22-cv-424-L-AGS-DDL
             TO DORA MEZA'S INTERROGATORIES, SET ONE

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        Case 3:22-cv-00424-AGS-DDL                                    Document 166-6   Filed 04/30/25   PageID.2562     Page
                                                                            9 of 35



             1     hire individuals to " backfill" for the employees who were on leave, and it could not
             2     conduct its operations appropriately and effectively without having employees working
             3     in those positions.
             4                 Discovery and investigation continue and Responding Party reserves the right to
             5     amend or supplement this response.
          6        INTERROGATORY NO. 6:
          7                    Identify all SDCCD employees and contractors who were granted religious
          8        exemptions from the COVID-19 vaccine mandate between 2021 and 2023.
          9       RESPONSE TO INTERROGATORY NO. 6:
         10                    Objection. Responding Party objects to the interrogatory on the grounds that it
         11       seeks information protected by the right of privacy of third-party individuals.                          The
         12       interrogatory also seeks information protected from disclosure by state and federal law,
         13       including HIPAA. The interrogatory is also overbroad, and argumentative as to the term
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0        14       "COVID- 19 vaccine mandate." Without waiving the foregoing objections, Responding
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C/)      15       Party responds as follows: SDCCD refers Plaintiff to its response to Plaintiffs Public
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        16        Records Act request. Between July 1, 2021 and March 30, 2022, SDCCD granted
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<t'.    17        religious exemptions to 3 16 employees.
        18                    Discovery and investigation continue and Responding Party reserves the right to
        19       amend or supplement this response.
        20       INTERROGATORY NO. 7:
        21                    Identify all SDCCD employees or contractors who were granted                            medical
        22       exemptions from the COVID-19 vaccine mandate between 2021 and 2023, and                                 state
        23       whether each individual was permitted to continue working on-site, was                            placed on
        24       leave, or was otherwise restricted.
        25       RESPONSE TO INTERROGATORY NO. 7:
        26                   Objection. Responding Party objects to the interrogatory on the grounds that it
        27       seeks information protected by the right of privacy of third-party individuals. The
        28                                                                             8
                 SAN DIEGO COMMUNITY COLLEGE DISTRICT RESPONSE                                             3:22-cv-424-L-AGS-DDL
                 TO DORA MEZA'S INTERROGATORIES, SET ONE

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       Case 3:22-cv-00424-AGS-DDL                                   Document 166-6   Filed 04/30/25   PageID.2563     Page
                                                                          10 of 35




             information requested is protected from disclosure by state and federal privacy                           laws,
         2   including the Health Insurance Portability and Accountability Act (HIPAA), and is
         3   compound. Responding Party further objects to the interrogatory on the grounds that it
         4   is not calculated to lead to the discovery ofrelevant, admissible evidence. See Plaintiff's
         5   Response to SDCCD Interrogatory No. 7.
         6                Discovery and investigation continue and Responding Party reserves the right to
         7   amend or supplement this response.
         8   INTERROGATORY NO. 8:
         9                Describe all accommodations SDCCD provided to employees who                               received
        10   medical exemptions and compare those accommodations to those provided                                         to
        11   employees who received religious exemptions. Additionally, state whether SDCCD
        12   determined that providing religious accommodations, but not medical accommodations,
        13   would impose a "substantial increased cost" as required under Groffv. DeJoy, 600 U.S.
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0       14   447 (2023).
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C/)     15   RESPONSE TO INTERROGATORY NO. 8:
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~       16               Objection. Responding Party objects to the interrogatory on the grounds that it
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<C      17   seeks information protected by the right of privacy of third-party individuals.                             The
        18   information requested is protected from disclosure by state and federal privacy                           laws,
        19   including the Health Insurance Portability and Accountability Act (HIP AA).
       20    Responding Party further objects to the interrogatory on the grounds that it is not
       21    calculated to lead to the discovery of relevant, admissible evidence. See Plaintiff's
       22    Response to SDCCD Interrogatory No. 7. The interrogatory is also                                    overbroad,
       23    compound, and vague as to time. Without waiving the foregoing                                       objections,
       24    Responding Party responds as follows: The accommodations provided to                                employees
       25    regardless of whether they had been granted religious exemptions or medical
       26    exemptions generally consisted of being permitted to either work on site fully                                or
       27    partially; work remote fully or partially; or using leave. Generally, the determination of
       28                                                                            9
             SAN DIEGO COMMUN ITY COLLEGE DISTRICT RESPONSE                                               3:22-cv-424-L-AGS-DDL
             TO DORA MEZA'S INTERROGATORIES, SET ONE

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         Case 3:22-cv-00424-AGS-DDL                                     Document 166-6   Filed 04/30/25   PageID.2564    Page
                                                                              11 of 35



              1      the appropriate accommodation did not depend on whether an employee was granted a
              2     religious or medical exemption. However, if, for instance, an employee had a medical
              3     condition that increased the risk of COVID-19 complications, including death, to an
              4     unacceptable degree based on medical documentation from a licensed healthcare
           5        provider, such individual medical needs were considered when determining                                  the
           6        appropriate accommodation.
           7                    Discovery and investigation continue and Responding Party reserves the right to
           8        amend or supplement this response.
           9        INTERROGATORY NO. 9:
          10                    Identify any SDCCD employees with medical exemptions who were allowed to
          l1        work on-site but did not comply with weekly testing, masking, or distancing policies,
          12       and state whether they faced disciplinary action.
          13       RESPONSE TO INTERROGATORY NO. 9:
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 I.!.
 0        14                    Objection. Responding Party objects to the interrogatory on the grounds that it
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if)       15       seeks information protected by the right of privacy of third-party individuals, including
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          16       confidential personnel matters relating to employee discipline. The                              information
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<l'.'.    17       requested is protected from disclosure by state and federal privacy laws, including the
          18       Health Insurance Portability and Accountability Act (IBPAA). Responding Party
         19        further objects to the interrogatory on the grounds that it is not calculated to lead tothe
         20       discovery of relevant, admissible evidence. See Plaintiffs Response to SDCCD
         21 Interrogatory No. 7. The interrogatory is also vague as to time, overbroad, and
         22 compound. Without waiving the foregoing objections, Responding Party responds as
         23       follows: No SDCCD employee who received a medical exemption was permitted to
         24       work onsite and also allowed to not comply with weekly testing, masking, or distancing
         25       policies. It is not possible for the District to state at this time whether all such employees
         26       complied with its policies and directives at all times.
         27                    Discovery and investigation continue and Responding Party reserves the rightto
         28                                                                              10
                  SAN DIEGO COMMUNITY COLLEGE DISTRICT RESPONSE                                              3:22-cv-424-L-AGS-DDL
                  TO DORA MEZA'S INTERROGATORIES, SET ONE

                  {AS7 Law San Diego/00 1037/000607/Dl/S0593822.DOCX}
        Case 3:22-cv-00424-AGS-DDL                                   Document 166-6   Filed 04/30/25   PageID.2565    Page
                                                                           12 of 35



               amend or supplement this response.
          2    INTERROGATORY NO. IO:
          3                Describe any disciplinary action SDCCD took against vaccinated employees who
          4   tested positive for COVID-19 and compare it to the actions taken againstunvaccinated
          5   employees with religious exemptions.
          6   RESPONSE TO INTERROGATORY NO. 10:
          7                Objection. Responding Party objects to the interrogatory on the grounds that it
          8   seeks information protected by the right of privacy of third-party individuals, including
          9   confidential personnel matters relating to employee discipline. The                                information
         10   requested is protected from disclosure by state and federal privacy laws, including the
         11   Health Insurance Portability and Accountability Act (IDPAA). The interrogatory is also
         12   compound. Without waiving the foregoing objections, Responding Party responds as
         13   follows: SDCCD did not take disciplinary action against employees who                                     were
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0        14   vaccinated for COVID-19 and tested positive for COVID-19. Therefore, there is no
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VJ       15   disciplinary action to "compare." Moreover, SDCCD did not take d isciplinary action
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         16   against unvaccinated employees with re ligious exemptions because they tested positive
c,,:
<        17   fo r Covid-19.
         18               Discovery and investigation continue and Responding Party reserves the right to
         19   amend or supplement this response.
        20    INTERROGATORY NO.11:
        21                 State how many SDCCD employees tested positive for COVID- 19 between May
        22    l, 2021 and March 30, 2023 , specify ing how many were vaccinated and how many were
        23    unvaccinated.
        24    RESPONSE TO INTERROGATORY NO. 11:
        25                As provided to Plaintiff in response to her Public Records Act request to SDCCD,
        26    the total number of employees who tested positive for COVID- 19 between May 1, 202 1
        27    and March 30, 2023 was 847. 76 l of these employees were vaccinated and 86 were
        28    11
              SAN DIEGO COMMU ITV COLLEGE DISTRICT RESPONSE                                               3:22-cv-424-L-AGS-DDL
              TO DORA MEZA'S INTERROGATORIES, SET ONE

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        Case 3:22-cv-00424-AGS-DDL                                   Document 166-6   Filed 04/30/25   PageID.2566     Page
                                                                           13 of 35




          l   unvaccinated.
          2               Discovery and investigation continue and Responding Party reserves the right to
          3   amend or supplement this response.
          4   INTERROGATORY NO. 12:
          5               State whether SDCCD had a policy in place to track whether employees who
          6   tested positive for COVID-19 were vaccinated or unvaccinated and explain how such
          7   data was used in workplace safety determinations.
          8   RESPONSE TO INTERROGATORY NO. 12:
          9               Responding Party objects to the interrogatory on the grounds that it is vague and
         10   ambiguous as to the terms "policy" and " track," and is compound. Without waiving the
         ll   foregoing objections, Responding Party responds as follows: SDCCD kept track of
         12   COVID-19 cases, including vaccination status, as required by Cal-OSHA and in
         13   accordance with guidelines and recommendations from outside agencies. The data was
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0        14   used to assure that appropriate and mandated protocols were followed (quarantine,
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r:/J     15   return to work, etc.), which required SDCCD to track whether the employee was
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         16   vaccinated.
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<!'.     17               Discovery and investigation continue and Responding Party reserves the right to
         18   amend or supplement this response.
        19    INTERROGATORY NO. 13:
        20                Identify and describe any internal studies, reports, or data analyses SDCCD
        21    conducted or reviewed between 2021 and 2023 comparing COVID-19 transmission
        22    rates among vaccinated and unvaccinated employees, and state whether SDCCDrelied
        23    on these studies to justify claims of " undue hardship" in denying                                     religious
        24    accommodations under the Gross v. DeJoy, 600 U.S. 477 (2023) standard.
        25    RESPONSE TO INTERROGATORY NO. 13:
        26                Objection. Responding Party objects to the interrogatory on the grounds that it is
        27    overbroad, compound, vague, and argumentative. The information requested may be
        28    12
              SAN DIEGO COMMUNITY COLLEG E DISTRICT RESPONSE                                               3:22-cv-424-L-AGS-DDL
              TO DORA M EZA'S I NTERROGATORIES, SET ONE

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          Case 3:22-cv-00424-AGS-DDL                                   Document 166-6   Filed 04/30/25   PageID.2567     Page
                                                                             14 of 35




            1 protected from disclosure by state and federal privacy laws, including the Health
            2   Insurance Portability and Accountabi lity Act (HIPAA). Without waiving the foregoing
            3   objections, Responding Party responds as follows: SDCCD did not conduct                                 internal
            4   studies, reports or data analyses comparing COVID- 19 transm ission rates among
            5   vaccinated employees. SDCCD received, reviewed and fo llowed local, state, and
            6   federal laws, guidelines and regulations, which may have included studies, reports, or
            7   data analyses comparing COVID- 19 transmission rates among vaccinated                                       and
            8   unvaccinated individuals contained therein. To the extent the interrogatory requests
            9   SDCCD to identify all of these studies, reports, or data analyses in such local, state, and
           10   federa l laws, guidelines and regulations, it is an overly burdensome request.
           11               Discovery and investigation continue and Responding Patty reserves the right to
           12   amend or supplement this response.
           13   INTERROGATORY NO. 14:
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           14               Identify all SDCCD employees who were disciplined, placed on leave, or
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<Zl        15   terminated for non-compliance with COVID-19 policies, pecifying-whether th-e y
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 r::       16   sought a religious exemption, a medical exemption, or did not seek an exemption.
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           17   RESPONSE TO INTERROGATORY NO. 14:
           18               Objection. Responding Patty objects to the interrogatory on the grounds that it
           19   seeks information protected by the right of privacy of third-party individuals, including
          20    confidential personnel matters relating to employee discipline. The                                information
          21    requested is protected from disclosure by state and federal privacy laws, including the
          22    Health Insurance Po1iability and Accountabi lity Act (HIPAA). Responding Party
          23    further objects to the interrogatory on the grounds that it is not calculated to lead tothe
          24    discovery of relevant, admissible evidence. See Plaintiff's Response to SDCCD
          25    Interrogatory No. 7. The interrogatory is also compound.
          26    INTERROGATORY NO. 15:
          27                Identify all meetings, emails, memoranda, or policy discussions in which
           28                                                                           13
                SAN DIEGO COMMUNITY COLLEGE DISTRICT RESPONSE                                                3:22-cv-424-L-AGS-DDL
                TO DORA MEZA'S I NTERROGATORIES, SET ONE

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       Case 3:22-cv-00424-AGS-DDL                                     Document 166-6   Filed 04/30/25   PageID.2568     Page
                                                                            15 of 35



            1      SDCCD personnel discussed the relative COVID-19 risks of vaccinated vs.
            2     unvaccinated employees, and state whether religious exemption holders were
            3     specifically addressed.
            4     RESPONSE TO INTERROGATORY NO. 15:
            5                  Objection. Responding Party objects to the interrogatory on the grounds that it is
            6     overbroad, compound, and vague and ambiguous as to the terms "policy discussions"
         7        and "addressed." The information requested is also protected from disclosure by state
         8        and federa l privacy laws, including the Health Insurance Portability and Accountability
         9       Act (HIPAA). Without waiving the foregoing objections, Responding Party responds
        10       as follows: It is not possible to identify all meetings and conversations about a pandemic
        11       that took place over a period of years. SDCCD acknowledges that its employeest-t- -
        12       necessarily discussed vaccination and its effectiveness, as well as exemptions from
        13       vaccination, including religious exemptions.
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0       14                    Discovery and investigation continue and Responding Party reserves the right to
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(/)     15       amend or supplement this response.
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       16        INTERROGATORY NO. 16:
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<!'.    17                   Identify all communications between SDCCD Human Resources personnel,
       18       administrators, and                           legal counsel discussing Plaintiffs religious exemption,
       19       administrative leave, or return-to-work-status. Additionally, state whether any of these
       20       communications reference " undue hardship" as defined in Groffv. DeJoy, 600 U.S. 447
       21 (2023).
       22       RESPONSE TO INTERROGATORY NO. 16:
       23                    Objection. Responding Party objects to the interrogatory on the grounds that it
       24       violates the attorney-client privilege and attorney work product doctrine. Responding
       25       Party further objects to the interrogatory on the grounds that it is vague and ambiguous
       26       and compound.
       27                   Discovery and investigation continue and Responding Party reserves the rightto
       28                                                                              14
                SAN DIEGO COMMUNITY COLLEGE DISTRICT RESPONSE                                              3:22-cv-424-L-AGS-DDL
                TO DORA MEZA'S I NTERROGATORIES, SET ONE

                (t\S7 Law San Dicgo/001037/0006071DI/S0593822.00CX)
       Case 3:22-cv-00424-AGS-DDL                                   Document 166-6   Filed 04/30/25   PageID.2569     Page
                                                                          16 of 35




             amend or supplement this response.
         2   INTERROGATORY NO. 17:
         3               For each SDCCD responses to Requests for Admissions, Set One (served on
         4   January 29, 2025) which is not an unqualified admission, state (a) the number of
         5   Request, (b) all facts on which SDCCD base THEIR response, (c) the names, addresses,
         6   and telephone numbers of all persons who have knowledge of those facts, and ( d)
         7   identify all documents that support SDCCD response.
         8   RESPONSE TO INTERROGATORY NO.17:
         9               (a) 1 (Supplemental Response)
        10               (b) Plaintiff was placed on paid administrative leave effective August 22, 2022.
        11               (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
        12   reached through SDCCD' s counsel of record
        13               (d) Greg Smith August 16, 2022 email correspondence to Plaintiff
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0       14               (a) 3
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(:/)    15               (b) As of December 2, 2021, California law (AB 685) required the District to
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<i:     16   notify employees who were potentially exposed to COVID-19.
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        17               (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
        18   reached through SDCCD' s counsel ofrecord
        19               (d) "AB 685 Summary." Discovery and investigation continue.
        20               (a) 4 (Supplemental Response)
        21               (b) Responding Party denies that it knew, prior to August 22, 2022, that the
        22   COVID-19 vaccine, or any particular COVID-19 vaccine, did not prevent transmission
        23   of COVID-19, nor did it know at that time to what exact degree any particular Covid-
        24   19 vaccine was effective at preventing transmission ofCOVID-19.
        25               (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
        26   reached through SDCCD' s counsel ofrecord
        27               (d) None at this time. Discovery and investigation continue.
        28                                                                           15
             SAN DIEGO COMMUNITY COLLEGE DISTRICT RESPONSE                                                3:22-cv-424-L-AGS-DDL
             TO DORA MEZA'S I NTERROGATORIES, SET ONE

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       Case 3:22-cv-00424-AGS-DDL                                      Document 166-6   Filed 04/30/25   PageID.2570     Page
                                                                             17 of 35




         1                (a) 5
         2                (b) SDCCD did not use COVID-19 testing as a tool to increase compliance of
         3                Covid-19 vaccine among individuals with religious exemptions.
         4                (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
         5   reached through SDCCD's counsel of record
         6                (d) None at this time. Discovery and investigation continue.
         7                (a) 6
         8                (b) SDCCD's vaccination policy did not treat the COVID-19 vaccme as a
         9   prerequisite for participation in on-site activities, institutional programs, and
        10   professional development. The request for admission is overbroad, compound and
        11   argumentative.
        12                (c) Greg Smith, Frank Fennessey, Ljubisa Kost ic - SDCCD employees may be
        13   reached through SDCCD's counsel ofrecord
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0       14                (d) None at this time. Discovery and investigation continue.
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C/J     15                (a) 7
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r::     16                (b) Like Request for Admission No. 4, SDCCD was not "aware" the COVID-19
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-<      17   vaccine did not prevent transmission of the virus. The request for admission is
        18   overbroad, compound and argumentative.
        19                (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
       20    reached through SDCCD's counsel of record
       21                 (d) None at this time. Discovery and investigation continue.
       22                 (a) 8 (Supplemental Response)
       23                 (b) Responding Party admits that at certain times vaccinated employees were not
        24   required to participate in mandatory weekly testing for COVID- 19. There were also
       25    times when testing was avai lable and required of anyone who was going to be present
        26   on-site.
        27                (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
        28                                                                              16
             SAN DIEGO COMMUN ITY COLLEGE DISTRICT RESPONSE                                                  3:22-cv-424-L-AGS-DDL
             TO DORA MEZA'S INTERROGATORIES, SET ONE

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       Case 3:22-cv-00424-AGS-DDL                                  Document 166-6   Filed 04/30/25   PageID.2571     Page
                                                                         18 of 35




             reached through SDCCD's counsel ofrecord
         2               ( d) None at this time. D iscovery and investigation continue.
         3               Discovery and investigation continue and Responding Party reserves the right to
         4   amend or supplement this response.
         5   INTERROGATORY NO. 18:
         6               State whether SDCCD considered revising its workplace restrictions, based on
         7   its own data showing a higher number of COVID-19 cases among                                       vaccinated
         8   employees, and if not, explain why.
         9   RESPONSE TO INTERROGATORY NO. 18:
        10               Objection. Responding Party objects to the interrogatory on the grounds that it
        11   assumes facts, namely that SDCCD's data showed a higher percentage of COVID-19
        12   cases among vaccinated employees. Without waiving the foregoing                                     objection,
        13   Responding Party responds as follows: Yes, SDCCD considered whether its data should
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0       14   impact its policies and protocols.
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:r:                      Discovery and investigation continue and Responding Party reserves the right to
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<       16   amend or supplement this response.
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<t'.    17   INTERROGATORY NO. 19:
        18               Describe all workplace restrictions that were in place for vaccinated employees
        19   who tested positive for COVID-19 and whether those same restrictions were applied to
        20   unvaccinated employees with relig ious exemptions.
        21   RESPONSE TO INTERROGATORY NO. 19:
        22               Objection. Responding Party objects to the interrogatory on the grounds that 1s
        23   vague and ambiguous as to the term "workplace restrictions" and is compound and
        24   overbroad. Without waiving the foregoing objections, Responding Patty responds                               as
        25   follows: SDCCD uniformly followed federal, state, and local laws, guidance and
        26   policies, including those from the California Department of Public Health (CDPH) and
        27   Cal-OSHA. For example, the CDPH's June 9, 2022 Isolation and Quarantine Guidance
        28   17
             SAN DIEGO COMMUNITY COLLEGE DISTRICT RESPONSE                                               3:22-cv-424-L-AGS-DDL
             TO DORA MEZA'S INTERROGATORI ES, SET ONE

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        Case 3:22-cv-00424-AGS-DDL                                    Document 166-6        Filed 04/30/25               PageID.2572                 Page
                                                                            19 of 35




              provided that regard less of vaccination status, employees who tested positive                                                          could
          2   return to work after 5 days if the employee had a negative test, symptoms were
          3   improving, and they wore a face covering (mask) at work for an additional 5 days.
          4               Discovery and investigation continue and Responding Party reserves the right to

          5   amend or supplement this response.
          6   INTERROGATORY NO. 20:
          7               Identify any vaccinated SDCCD employees who tested positive for COVID-19

          8   and were permitted to continue working remotely, and state whether                                                                    similar

          9   accommodations were offered to unvaccinated employees with religious exemptions.

         10   RESPONSE TO INTERROGATORY NO. 20:
         11               Objection. Responding Party objects to the interrogatory on the grounds that it
         12   seeks information protected by the right of privacy of third-party ind ividuals.                                                           The
         13   information requested is protected from disclosure by state and federal privacy                                                          laws,
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0        14   including the Health Insurance Portability and Accountability Act (HIPAA). The
?E:
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(/)      15   interrogatory is also compound.
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~        16               D iscovery and investigation continue and Responding Party reserves the right to
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c:x:
<t:      17   amend or supplement this response.
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         19
         20   Dated: March 27, 2025                                                    ARTIANO SHINOFF

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         23
                                                                                            Jack M. SI eeth Jr.
         24                                                                                 Maurice A. Bumbu
                                                                                       Attorneys for Defendant SAN DIEGO
         25                                                                            COMMUNITY COLLEGE DISTRICT,

         26
         27
         28                                                                                 18
              SAN DIEGO COMMU ITV COLLEGE DISTRICT RESPONSE                                                                      3:22-cv-424-L-AGS-DDL
              TO DORA MEZA'S I NTERROGATORIES, SET ONE

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       Case 3:22-cv-00424-AGS-DDL                                   Document 166-6    Filed 04/30/25   PageID.2573     Page
                                                                          20 of 35




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         7   Attcnrie_y~ fur Defendant SAN DIEGO
             COMMUNITY COLLEGE DISTRICT
         8
                                                         UNITED STATES DISTRICT COURT
         9
                                        FOR THE SOUTHERN DISTRICT OF CALIFORNIA
        10
             JUDY GEORGE, et al.,                                                    Case No.: 3 :22-cv-424-L-AGS.-DDL
        I1                                                                           Dept.: SB
                                      Plaintiffs,                                    Judge Andrew G. Schopler
        12                                                                           Magistrate: Judge David D. Leshner
                          v.
        13
             GROSSMONT CUYAMACA                                                      SAN DIEGO COMMUNITY
u..
u..     14   COMMUNITY COLLEGE DISTRICT                                              COLLEGE DISTRICT
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2::          GOVERNING BOARD, et al,                                                 SUPPLEMENTAL RESPONSES
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        15                                                                           TO DORA MEZA'S
 0                                    Defendants.                                    INTERROGATORIES
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<t'.    16                                                                           SET ONE
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                                                                                     Action Date:March 30, 2022
        18                                                                           Trial date: December 12, 2025 (final
                                                                                                 pretrial conference)
        19

        20   PROPOUN DING PARTY:                                        DORA MEZA, Plaintiff

        21   RES PONDING PARTY:                                         SAN DIEGO COMMUNITY COLLEGE DISTRICT,

        22                                                              Defendant

        23   SET NO.:                                                   ONE

        24               Pursuant to California Code of Civil Procedure section 2030, et seq., Defendant
        25   SAN DIEGO COMMUNITY COLLEGE DISTRICT ("Defendant" or                                               "Responding
        26   Party") makes the following responses and objections to the Special Interrogatories.
        27   These responses and objections to the Special Interrogatories are made solely                             for the
        28   purpose of this action. Each answer is subject to al l objections as to competence,
                                                                                       1
             SDCCD'S SUPPLEMENTAL RESPONSES TO DORA MEZA'S                                                 3:22-cv-424-L-AGS-DDL
             INTERROGATOR! ES, SET ONE
             {AS7 l~1w San l),ego/OOI0J7/000607/0I/S0S94796 DOCX)
        Case 3:22-cv-00424-AGS-DDL                                    Document 166-6   Filed 04/30/25   PageID.2574     Page
                                                                            21 of 35



             1     relevance, materiality, propriety, and admissibility in any and all objections and grounds
             2     that would require the exclusion of any statement herein if the Special Interrogatories
             3     were asked of, or any statement or admission contained herein were made by a witness
             4     present and testifying in court, a ll of which objections and grounds are reserved and
             5     may be interposed at time of trial.
          6                    The following responses are based on information presently available                          to
          7        Responding Party, and except for explicit facts admitted herein, no incidental or implied
          8       admiss ions are intended hereby. The fact that Responding Party has answered part or
          9       all of the Special Interrogatory is not intended, and shall not be construed to be waived
         10       by Responding Party of all or any part of any objection to any Special Interrogatory.
         11       To the extent any and all of the Special Interrogatories call for information which
         12       constitutes information or material prepared in anticipation of litigation, or for trial, or
         13       information or material covered by the work product doctrine, or which constitutes
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0       14        information which is privileged by virtue of the attorney client privilege, Responding
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(/)     15        Party objects to each and every such Special Interrogatory and thus will not supply or
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 <       16       render any information or material protected from discovery by virtue of the work
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<t'.    17       product doctrine or attorney client privilege.
        18                    To the extent that these Special Interrogatories assume facts that have not been
        19       established or are not known to this Responding Patty, they are objected to.
        20                   Responding Party has made a dil igent search and inquiry in order to gather
        21       information in responsive to these interrogatories. However, Responding                                 Party
        22       specifically reserves its right to supplement its responses to these interrogatories as
        23       discovery and investigation is continuing.
        24                                                RESPONSE TO INTERROGATORIES
        25       INTERROGATORY NO. I:
        26                   State all reasons why Plaintiff was placed on administrative leave on August 22,
        27       2022, and describe in detail the specific factors that led to the decision, including                     but
        28       not limited to the role of Plaintiffs religious exemption in the determination.
                                                                                       2
                 SD<;:CD'S SUPPLEMENTAL RESPONSES TO DORA MEZA'S                                           3:22-cv-424-L-AGS-DDL
                 TO DORA MEZA'S INTERROGATORIES, SET ONE
                 (AS7 Law San Diego/001037/000607/DI/S0594796.DOCX}
        Case 3:22-cv-00424-AGS-DDL                                    Document 166-6   Filed 04/30/25   PageID.2575     Page
                                                                            22 of 35



             l      relevance, materiality, propriety, and admissibility in any and all objections and grounds
             2     that wou ld require the exclusion of any statement herein if the Special Interrogatories
             3     were asked of, or any statement or adm ission contained herein were made by a witness
             4     present and testifying in court, al l of which objections and grounds are reserved and
             5     may be interposed at time of trial.
             6                 The fo llowing responses are based on information presently avai lable                          to
             7     Responding Patty, and except for explicit facts admitted herein, no incidental or implied
          8        admiss ions are intended hereby. The fact that Responding Patty has answered part or
          9        a ll of the Special Interrogatory is not intended, and shall not be construed to be waived
         10        by Responding Party of all or any part of any objection to any Special Interrogatory.
         11       To the extent any and all of the Special Interrogatories call for information wh ich
         12       constitutes information or material prepared in anticipation of litigation, or for trial, or
         13       information or material covered by the work product doctrine, or wh ich constitutes
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0        14       information which is privileged by virtue of the attorney client privilege, Responding
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VJ      15        Party objects to each and every such Special Interrogatory and thus wi ll not supply or
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        16        render any information or material protected from discovery by virtue of the work
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<t'.    17        product doctrine or attorney client privilege.
        18                    To the extent that these Special Interrogatories assume facts that have not been
        19       established or are not known to this Responding Party, they are objected to.
        20                    Responding Party has made a di ligent search and inquiry in order to gather
        21       information in responsive to these interrogatories. However, Responding                                 Party
        22       specifically reserves its right to supplement its responses to these interrogatories as
        23       discovery and investigation is continuing.
        24                                                RESPONSE TO INTERROGATORIES
        25       INTERROGATORY NO. 1:
        26                    State a ll reasons why Plaintiff was placed on administrative leave on August 22,
        27       2022, and describe in detail the specific factors that led to the decision, including                     but
        28       not limited to the role of Plaintiffs religious exemption in the determination.
                                                                                       2
                 SDCCD'S SUPPLEMENTAL RESPONSES TO DORA MEZA'S                                             3:22-cv-424-L-AGS-DDL
                 TO DORA MEZA'S INTERROGATORIES, SET ONE
                 {AS7 Law San Dicgo/OO I0J7/000607/DUS0594796.DOCXI
        Case 3:22-cv-00424-AGS-DDL                                    Document 166-6   Filed 04/30/25   PageID.2576     Page
                                                                            23 of 35



             1      SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 3:
             2                  Objection. Respond ing Party objects to the interrogatory on the grounds that it
             3     seeks information protected by the right of privacy of third-party individuals. The
             4     interrogatory also seeks information protected from disclosure by state and federal law,
             5     including I-IlPAA. The interrogatory is also overbroad, and argumentative as to the term
             6     "COVID-19 vaccine mandate." Without waiving the foregoing objections, Responding
             7     Party responds as follows: As discussed during the parties' discovery meet and confer
             8     conferences on April 8-9, 2025, SDCCD will not identify these employees because of
          9        their privacy rights. However, SDCCD will produce documents to P laintiff showing
         10       which employees were granted religious exemptions with any of their                                 personal
         11        identifying information (name, email, employee ID) redacted.
         12                    Discovery and investigation continue and Responding Party reserves the rightto
         13       amend or supplement this response.
I.I..
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0        14       INTERROGATORY NO. 4:
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C/)     15                    For each SDCCD responses to Requests for Admissions, Set One (served on
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        16        January 29, 2025) which is not an unqualified admission, state (a) the number of
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        17        Request, (b) al I facts on which SDCCD base THEIR response, ( c) the names, addresses,
        18        and telephone numbers of all persons who have knowledge of those facts, and ( d)
        19        identify all documents that support SDCCD response.
        20       SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 4:
        21                    (a) l (2 11d Supplemental Response)
        22                    (b) Plaintiff was placed on paid administrative leave effective August 22, 2022.
        23       At that time, the District was not ab le to grant P laintiff an accommodation to work in-
        24       person. On March 6, 2023, Plaintiff was granted an accommodation to work in-person
        25       while being exempted from the vaccination requ irement.
        26                   (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
        27       reached through SDCCD's counsel of record
        28                   (d) Greg Smith August 16, 2022 email correspondence to P laintiff (SDCCD
                                                                                       5
                 SDCCD'S SUPPLEMENTAL RESPONSES TO DORA MEZA'S                                             3:22-cv-424-L-AGS-DDL
                 TO DORA MEZA'S INTERROGATORIJ.;S, SET ONE
                 {AS7 Law San Dicgo/OOJ0J71000607/DI/S0594796.DOCX)
         Case 3:22-cv-00424-AGS-DDL                                         Document 166-6   Filed 04/30/25   PageID.2577     Page
                                                                                  24 of 35



              1      SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 1:
              2                   Objection. Responding Party objects to the interrogatory on the grounds that it is
              3      overbroad and calls for an extensive narrative response, and is compound. Without
              4      waiving the foregoing objections, Responding Party responds as fo llows: As described
              5      in Vice Chancellor Gregory Smith' s A ugust 16, 2022 email correspondence to Plaintiff,
              6     at its June 9, 2022 meeting the Board of Trustees directed the District to continue
              7     requiring all employees to be vaccinated against COVID- 19 or have an approved legal
           8        exemption and reasonable accommodation to work while being unvaccinated.                                    While
           9        the District granted Plaintiffs religious exemption, the District determined                                  that
          10        reasonable accommodations to allow Plaintiff to work while remaining unvaccinated
          11        could not be made at that time. The District's determination was based on a variety of
          12       factors, including Plaintiffs essential job duties, the level of close contact with others
          13       required to perform her essential job duties, and the avai lability of other protective
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 0        14       measures to adequately protect her health and safety and the health and safety of others.
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VJ       15        Based on these factors, the District determined that it was not feasible to reasonably
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         16        modify Plaintiffs work environment, working conditions, and level of close contact
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<I:'.    17        with others within the parameters recommended by federal, state, and local                                  health
         18        authorities.
         19                     Discovery and investigation continue and Responding Party reserves the rightto
         20       amend or supplement thisresponse.
         21       INTERROGATORY NO. 3:
         22                     Describe the process SDCCD followed to determine whether                                  Plaintiffs
         23       continued presence at work after receiving a religious exemption would pose a risk to
         24       workplace safety, and state whether SDCCD conducted an " undue hardship" analysis
         25       is defined by the Supreme Court in Groff v. DeJoy, 600 U .S. 447 (2023).
         26       SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 3:
         27                    Objection. Responding Party objects to the interrogatory as being compound, and
         28       on the grounds that the interrogatory is overly broad and vag ue and ambiguous as to
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                  S DCC D'S SU PP LEMENTAL RESPONSES TO DORA MEZA'S                                              3:22-cv-424-L- AGS-DDL
                  TO DORA MEZA'S INTERROGATO RI ES,S ETONE
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        Case 3:22-cv-00424-AGS-DDL                                     Document 166-6    Filed 04/30/25   PageID.2578        Page
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                   time. The interrogatory also calls for a legal conclus ion, is duplicative of Interrogatory
             2     No. l , and is compound. Without waiving the forego ing objections, Responding Party
             3     responds as fo llows: From the beginn ing of the COVID-19 pandemic,                                     SDCCD
          4        continuous ly received, reviewed, and fo llowed federa l, state, and local laws and
          5        guidance, including from the Centers for D isease Control and Prevention (CDC),
          6       California Department of Public Health (CDPH), and Cal/OSHA; attended                                     weekly
          7       public health meetings; and consulted with broad constituent groups including                               union
          8       members and representatives. As described in V ice Chancellor Gregory Smith's August
          9        16, 2022 email correspondence to Pla intiff, at its June 9, 2022 meeting the Board of
         10       Trustees directed the District to continue requiring all employees to be vaccinated
         11       against COVID-19                             or have       an   approved    legal exemption     and reasonable
         12       accommodation to work while being unvaccinated. While the District                                        granted
         13       Plaintiffs               religious              exemption,      the   District   determined    that    reasonable
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0        14       accommodations to allow Plaintiff to work while remaining unvaccinated could not be
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(/)               made at that time. SDCCD did conduct an undue hardship analysis. The District's
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        16        determination was based on a variety of factors, including P laintiff's essential job
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<t'.    17       duties, the level of close contact with others required to perform her essential job duties,
        18       and the avai labi lity of other protective measures to adequately protect her health                           and
        19       safety and the health and safety of others. Based on these factors, the District determined
        20       that it was not feasible to reasonably modify Plaintiffs work environment, working
        21       conditions, and level of close contact with others within the parameters recommended
        22       by federa l, state, and local health authorities.
        23                    Discovery and investigation continue and Responding Party reserves the rightto
        24       amend or supplement thisresponse.
        25       INTERROGATORY NO. 6:
        26                   Identify all SDCCD employees and contractors who were granted religious
        27       exemptions from the COVID-19 vaccine mandate between 2021 and 2023.
        28
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                 SDCCD'S SUPPLEMENTAL RESPONSES TO DORA MEZA'S                                                  3:22-cv-424-L-AGS-DDL
                 TO DORA MEZA'S INTE RROGATO RIES, SET ONE
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        Case 3:22-cv-00424-AGS-DDL                                     Document 166-6   Filed 04/30/25   PageID.2579    Page
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             I     SUPPLEMENTAL RESPONSE TO INTERROGATORY NO.6:
          2                    Objection. Responding Party objects to the interrogatory on the grounds that it
          3        seeks information protected by the right of privacy of third-party individuals. The
          4        interrogatory also seeks information protected from disclosure by state and federal law,
          5        including I-IlP AA. The interrogatory is also overbroad, and argumentative as to the term
          6       "COVID-19 vaccine mandate." Without waiving the foregoing objections, Responding
          7       Party responds as follows: As discussed during the parties' discovery meet and confer
          8       conferences on April 8-9, 2025, SDCCD will not identify these employees because of
          9       their privacy rights. However, SDCCD will produce documents to Plaintiff showing
         10       which employees were granted religious exemptions with any of their                                  personal
         11       identifying information (name, email, employee ID) redacted.
         12                    Discovery and investigation continue and Responding Party reserves the rightto
         13       amend or supplement this response.
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0        14       INTERROGATORY NO.17:
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if)      15                   For each SDCCD responses to Requests for Admissions, Set One (served on
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         16      January 29, 2025) which is not an unqualified admission, state (a) the number of
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<        17      Request, (b) all facts on which SDCCD base THEIR response, ( c) the names, addresses,
        18       and telephone numbers of all persons who have knowledge of those facts, and (d)
        19       identify all documents that support SDCCD response.
        20       SUPPLEMENTAL RESPONSE TO INTERROGATORY NO.17:
        21                    (a) 1 (2 nd Supplemental Response)
        22                    (b) Plaintiff was placed on paid administrative leave effective August 22, 2022.
        23       At that time, the District was not able to grant Plaintiff an accommodation to work in-
        24       person. On March 6, 2023, Plaintiff was granted an accommodation to work in-person
        25       while being exempted from the vaccination requirement.
        26                   (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
        27       reached through SDCCD's counsel of record
        28                   ( d) Greg Smith August 16, 2022 email correspondence to Plaintiff (SDCCD
                                                                                        5
                 SDCCD'S SUPPLEMENTAL RESPONSES TO DORA MEZA'S                                              3:22-cv-424-L-AGS-DDL
                 TO DORA MEZA'S INTERROGATORIES, SET ONE
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       Case 3:22-cv-00424-AGS-DDL                                    Document 166-6   Filed 04/30/25   PageID.2580     Page
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            I     SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. I:
            2                 Objection. Responding Party objects to the interrogatory on the grounds that it is
            3     overbroad and calls for an extensive narrative response, and is compound. Without
            4     waiving the foregoing objections, Responding Party responds as follows: As described
            5     in Vice Chancellor Gregory Smith's August 16, 2022 email correspondence to Plaintiff,
            6     at its June 9, 2022 meeting the Board of Trustees directed the District to continue
         7       requiring all employees to be vaccinated against COVID-19 or have an approved legal
            8    exemption and reasonable accommodation to work while being unvaccinated.                                While
         9       the District granted Plaintiff's religious exemption, the District determined                             that
        10       reasonable accommodations to allow Plaintiff to work while remaining unvaccinated
        11       could not be made at that time. The District's determination was based on a variety of
        12       factors, including Plaintiff's essential job duties, the level of close contact with others
        13       required to perform her essential job duties, and the availability of other protective
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0       14       measures to adequately protect her health and safety and the health and safety of others.
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VJ      15       Based on these factors, the District determined that it was not feasible to reasonably
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        16       modify Plaintiff's work environment, working conditions, and level of close contact
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<i::    17      with others within the parameters recommended by federal, state, and local                              health
       18       authorities.
       19                    Discovery and investigation continue and Responding Party reserves the rightto
       20       amend or supplement this response.
       21       INTERROGATORY NO. 2:
       22                   Describe the process SDCCD followed to determine whether                               Plaintiff's
       23       continued presence at work after receiving a religious exemption would pose a risk to
       24       workplace safety, and state whether SDCCD conducted an " undue hardship" analysis
       25       is defined by the Supreme Court in Groff v. DeJoy, 600 U.S. 447 (2023).
       26       SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 2:
       27                   Objection. Responding Party objects to the interrogatory as being compound, and
       28       on the grounds that the interrogatory is overly broad and vague and ambiguous as to
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                SDCCD'S SUPPLEMENTAL RESPONSES TO DORA MEZA'S                                             3:22- cv-424-L-AGS-DDL
                TO DORA MEZA'S INTERROGATORIES, SET ONE
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      Case 3:22-cv-00424-AGS-DDL                                  Document 166-6   Filed 04/30/25   PageID.2581     Page
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            000 l 0), Greg Smith November 17, 2022 email correspondence to Plaintiff (SDCCD
       2    00015), Greg Smith March 6, 2023 email correspondence to Plaintiff (SDCCD 00023)
       3                (a) 3
       4                (b) As of December 2, 2021, California law (AB 685) required the District to
        5   notify employees who were potentially exposed to COVID-19.
       6                (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
       7    reached through SDCCD's counsel ofrecord
        8               (d) SDCCD COVID-19 Prevention Plan (SDCCD 00208-00221 ), CA Dept.                                of
       9    Industrial Relations "COVID-19 Emergency Temporary Standards Frequently Asked
      10    Questions" (SDCCD 00240-00271 ), COVID-19 Safety Protocols for Supervisors
       ll   (SDCCD                 00465-00469)                    (SDCCD    00470-00473),    CDC    COVID-19       Source
      12    Investigation (SDCCD 00486-00489), AB 685 Compliance for COVID-19                                     (SDCCD
      13    00492-00494 ). Discovery and investigation continue.
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0     14                (a) 4 (2 nd Supplemental Response)
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:r:                     (b) Responding Party denies that it knew, prior to August 22, 2022, that the
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<     16    COVID-19 vaccine did not prevent transmission of COVID-19. As the Court has
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      17    previously explained, since the COVID-19 pandemic began, "not only has science
      18    enabled us to better understand the virus but also it has delivered a new weapon to
       19   combat it: widely available vaccines." (Dkt. 85, p. 4., In. 17-18.) As noted in the Board's
      20    June 9, 2022 and September 23, 202 l Resolutions, prior to August 22, 2022 the CDC,
      21    WHO, and other federal, state and local public health agencies reported data showing
      22    that unvaccinated individuals were more likely to contract COVID-19 and more likely
      23    to suffer fatal illness than individuals who were fully vaccinated and boosted.
      24                (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
      25    reached through SDCCD's counsel ofrecord
      26                (d) Dkt. 85, September 23,202 l Board Resolution (SDCCD 00040), June 9, 2022
      27    Board Resolution (SDCCD 00041 -00042).
      28                (a) 5
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            SDCCD'S SUPPLEMENTAL RESPONSES TO DORA MEZA'S                                               3:22-cv-424-L-AGS-DDL
            TO DORA MEZA'S INTERROGATORIES, SET ONE
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        Case 3:22-cv-00424-AGS-DDL                                Document 166-6   Filed 04/30/25   PageID.2582     Page
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                         (b) SDCCD did not use COVID-19 testing as a tool to increase " compliance" of
          2   the COVID-19 vaccine among individuals with religious exemptions. The District
          3   encouraged employees to get tested for COVID-19 regardless of vaccination status.
          4              (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
          5   reached through SDCCD's counse l of record
          6              (d) Greg Smith December 21, 2021 email (SDCCD 00059). Discovery and
          7   investigation continue.
          8              (a) 6
          9              (b) SDCCD's vaccination policy did not treat the COVID- 19 vaccme as a
         10   prerequisite for participation in on-site activities, institutional programs, and
         11   professional development. The request for admission is overbroad, compound and
         12   argumentative. It does not specify what time frame it is asking about or which
         13   employees it is asking about.
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0        14              (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
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(J)      15   reached through SDCCD's counsel of record
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<1'.     16              (d) None at this time. Discovery and investigation continue.
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<t:'.    17              (a) 7
         18              (b) Like Request for Admission No. 4, SDCCD was not "aware" the COVID-19
         19   vaccine did not prevent transmission of the virus. The request for admission is
        20    overbroad, compound and argumentative.
        21               (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
        22    reached through SDCCD's counsel of record
        23               (d) Dkt. 85, September 23, 2021 Board Resolution (SDCCD 00040), June 9, 2022
        24    Board Resolution (SDCCD 00041-00042). Discovery and investigation continue.
        25               (a) 8 (Supplemental Response)
        26               (b) Responding Party admits that at certain times vaccinated employees were not
        27    required to participate in mandatory weekly testing for COVID-19. There were also
        28    tim es when testing was available and required of anyone who was going to be present
                                                                                   7
              SDCCD'S SU PPLEMENTAL RESPONSES TO DORA MEZA'S                                            3:22-cv-424-L-AGS-DDL
              TO DORA MEZA'S INTERROGATORIES, SET ONE
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       Case 3:22-cv-00424-AGS-DDL                                      Document 166-6      Filed 04/30/25    PageID.2583      Page
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             on-site.
         2                (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
         3   reached through SDCCD's counsel of record
         4                (d) None at this time. Discovery and investigation continue.
         5                Discovery and investigation continue and Responding Party reserves the rightto
         6   amend or supplement this response.
         7
         8   Dated: April 23, 2025                                                      ARTIANO SHINOFF
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                                                                                            Jack M. Sleeth Jr.
        12                                                                                  Maurice A. Bumbu
                                                                                        Attorneys for Defendant SAN DIEGO
        13                                                                              COMMUNITY COLLEGE DISTRICT,
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             SDCCD'S SUPPLEMENTAL RESPONSES TO DORA MEZA'S                                                        3:22-cv-424-L-AGS-DDL
             TO DORA MEZA'S INTERROGATORIES, SET ONE
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       Case 3:22-cv-00424-AGS-DDL                                  Document 166-6    Filed 04/30/25          PageID.2584                   Page
                                                                         31 of 35




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             Paul V. Carelli, IV, Esq. (SBN 190773)
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             Jack M .'"Sleeth Jr., Esq. (SBN 108638)
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         5   San Diego, California 92103
             Telephone: 619-232-3122
         6   Facsimile: 619-232-3264
        7    Att9rne_y~ fur Defendant SAN DIEGO
             COMMUNITY COLLEGE DISTRICT
         8
                                                        UNITED STATES DISTRICT COURT
        9
                                       FOR THE SOUTHERN DISTRICT OF CALIFORNIA
        IO
             JUDY GEORGE, et al.,                                                   Case No.: 3:22-cv-424-L-AGS-DDL
        1I                                                                          Dept.: 5B
                                      Plaintiffs,                                   Judge Andrew G. Schopler
        12                                                                          Magistrate: Judge Davia D. Leshner
                         V.
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             GROSSMONT CUYAMACA                                                     SAN DIEGO COMMUNITY
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0       14   COMMUNITY COLLEGE DISTRICT                                             COLLEGE DISTRICT
;z           GOVERNING BOARD, et al,                                                SUPPLEMENTAL RESPONSES
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(/'J    15                                                                          TO DORA MEZA'S
0                                     Defendants.                                   INTERROGATORIES
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                                                                                    Action Date:March 30, 2022
        18                                                                          Trial date: December 12, 2025 (final
                                                                                                pretrial conference)
        19
       20    PROPOUNDING PARTY:                                        DORA MEZA, Plaintiff

       21    RESPONDING PARTY:                                         SAN DIEGO COMMUN ITY COLLEGE DISTRICT,

       22                                                              Defendant

       23    SET NO.:                                                  ON E

       24                Pursuant to Califo rnia Code of Civil Procedure section 2030, et seq., Defendant
       25    SAN DIEGO COMMUN1TY COLLEGE DISTRICT ("Defendant" or                                                              "Responding
       26    Party") makes the following responses and objections to the Special Interrogatories.
       27    These responses and objections to the Special Interrogatories are made solely                                                 fo r the
       28    purpose of this action. Each answer is subject to all objections as to competence,
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             _SD.CCD.:S SIJPPLEMF.NTAL RESPO.NS.ES_T0-1lli8""'A~M~E~Z.,~A~'S~              -   - - - -~3,_._.
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              INTERROGATORIES, SET ONE
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       Case 3:22-cv-00424-AGS-DDL                                  Document 166-6     Filed 04/30/25      PageID.2585       Page
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         1   time. The interrogatory a lso calls for a legal conclusion, is duplicative of Interrogatory
         2   No. 1, and is compound. Without waiving the foregoing objections, Responding Party
         3   responds as fo llows: From the beginning of the COVID-19 pandemic,                                           SDCCD
         4   continuously received, reviewed, and followed federal, state, and local laws and
         5   guidance, including from the Centers for Disease Control and Prevention (CDC),
         6   California Department of Public Health (CDPH), and Cal/OSHA; attended                                         weekly
         7   public health meetings; and consulted with broad constituent groups including                                   union
         8   members and representatives. As described in Vice Chancellor Gregory Smith's August
         9   16, 2022 email correspondence to Plaintiff, at its June 9, 2022 meeting the Board of
        10   Trustees directed the District to continue requiring all employees to be vaccinated
        11   against COVID-19                            or        have   an   approved    legal     exemption and      reasonable
        12   accommodation to work whi le being unvaccinated. While the District                                           granted
        13   Plaintiffs               relig ious             exemption,        the   District      determined    that   reasonable
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0       14   accommodations to allow Plaintiff to work whi le remaining unvaccinated could not be
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t;/)    15   made at that time. SDCCD did conduct an undue hardship analysis. The District's
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<       16   determination was based on a variety of factors, including Plaintiffs essential job
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<I'.    17   duties, the level of close contact with others required to perform her essential job duties,
        18   and the availability of other protective measures to adequately protect her health                                and
        19   safety and the health and safety of others. Based on these factors, the District determined
       20    that it was not feasib le to reasonably modify P laintiffs work environment, working
       21    conditions, and level of close contact with others within the parameters recommended
       22    by federal, state, and local health authorities.
       23                Discovery and investigation continue and Responding Party reserves the rightto
       24    amend or supplement this response.
       25    INTERROGATORY NO. 3:
       26                Identify all SDCCD employees and contractors who were granted religious
       27    exemptions from the COVID-19 vaccine mandate between 2021 and 2023 .
       28
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             S DCCD'S SUPPLEMENTAL RESPONSES TO DORA MEZA'S                                                     3:22-cv-424-L-AGS-DDL
             TO DORA MEZA'S INTERROGATORIES, SET ONE
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       Case 3:22-cv-00424-AGS-DDL                                      Document 166-6   Filed 04/30/25   PageID.2586     Page
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             00010), Greg Smith November 17, 2022 email correspondence to Plaintiff (SDCCD
         2   00015), Greg Smith March 6, 2023 email correspondence to Plaintiff (SDCCD 00023)
         3                (a) 3
         4                (b) As of December 2, 202 1, California law (AB 685) requ ired the.District to
         5   notify employees who were potentially exposed to COVID-19.
         6                (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
         7   reached through SDCCD's counsel of record
         8                (d) SDCCD COVID-19 Prevention Plan (SDCCD 00208-0022 1), CA Dept.                                   of
         9   Industrial Relations "COVID-19 Emergency Temporary Standards Frequently Asked
        10   Questions" (SDCCD 00240-00271 ), COVID-19 Safety Protocols for Supervisors
        11   (SDCCD                  00465-00469)                       (SDCCD    00470-00473),    CDC     COVID-19      Source
        12   Investigation (SDCCD 00486-00489), AB 685 Compl iance for COVID-19 (SDCCD
        13   00492-00494). Discovery and investigation continue.
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0       14                (a) 4 (2 nd Supplemental Response)
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:i:                       (b) Responding Party denies that it knew, prior to August 22, 2022, that the
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<       16   COVID- 19 vaccine did not prevent transmission of COVID-1 9. As the Court has
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        17   previously explained, since the COVID- 19 pandemic began, " not only has science
        18   enabled us to better understand the v irus but also it has delivered a new weapon to
        19   combat it: widely available vaccines." (Dkt. 85, p. 4., In. 17-18.) As noted in the Board's
        20   June 9, 2022 and September 23, 202 1 Resolutions, prior to August 22, 2022 the CDC,
        21   WHO, and other federal, state and local public health agencies reported data showing
        22   that unvaccinated individuals were more likely to contract COVID-1 9 and more likely
        23   to suffer fata l illness than individuals who were fully vaccinated and boosted.
        24                (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
        25   reached through SDCCD's counsel of record
        26                ( d) Dkt. 85, September 23, 2021 Board Resolution (SDCCD 00040), June 9, 2022
        27   Board Resolution (SDCCD 00041-00042).
        28                (a) 5
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             SDCCD'S SUPPLEMENTAL RESPONSES TO DORA MEZA'S                                                   3:22-cv-424-L-AGS-DDL
             TO DORA MEZA'S INTERROGATORI ES,SETONE
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        Case 3:22-cv-00424-AGS-DDL                                Document 166-6   Filed 04/30/25   PageID.2587     Page
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          1               (b) SDCCD did not use COVID-19 testing as a tool to increase "compliance" of
          2   the COVID-19 vaccine among individua ls with religious exemptions. The District
          3   encouraged employees to get tested for COVID-19 regardless of vaccination status.
         4                (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
          5   reached through SDCCD's counsel of record
          6               (d) Greg Smith December 21 , 202 1 email (SDCCD 00059). Discovery and
          7   investigation continue.
          8               (a) 6
          9               (b) SDCCD's vaccination policy did not treat the COVID-19 vaccme as a
         10   prerequisite for participation in on-site activities, institutional programs, and
         11   professional development. The request for admission is overbroad, compound and
         12   argumentative. It does not specify what time frame it is asking about or which
         13   employees it is asking about.
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0        14               (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
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{/)      15   reached through SDCCD's counsel of record
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<:       16               (d) None at this time. Discovery and investigation continue.
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<'.      17               (a) 7
         18               (b) Like Request for Admission No. 4, SDCCD was not "aware" the COVID-19
         19   vaccine did not prevent transmission of the virus. The request for admission is
        20    overbroad, compound and argumentative.
        21                (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
        22    reached through SDCCD' s counsel of record
        23                (d) Dkt. 85, September 23, 202 1 Board Resolution (SDCCD 00040), June 9, 2022
        24    Board Resolution (SDCCD 00041-00042). Discovery and investigation continue.
        25                (a) 8 (Supplementa l Response)
        26                (b) Responding Party adm its that at certain times vaccinated employees were not
        27    required to paiticipate in mandatory weekly testing for COVID- 19. T here were also
        28    times w hen testing was available and required of anyone who was going to be present
                                                                                   7
              SDCCD'S SU PPLEM ENTAL RESPONSES TO DORA MEZA'S                                           3:22-cv-424-L-AGS-DDL
              TO DORA MEZA'S INTERROGATORIES, SET ONE
              (AS7 Law SM D1<go,001037/000607/DI/S0594796.DOCX}
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               on-site.
          2                (c) Greg Smith, Frank Fennessey, Ljubisa Kostic - SDCCD employees may be
           3   reached through SDCCD' s counsel of record
          4                (d) None at this time. Discovery and investigation continue.
           5               Discovery and investigation continue and Responding Party reserves the rightto
           6   amend or supplement this response.
          7
           8   Dated: Apri l 17, 2025                                              ARTIANO SIDNOFF
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                                                                                       Jack M. Sleeth Jr.
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               SDCCD'S SUPPLEM ENTAL RESPONSES TO DORA MEZA'S                                                      3:22-cv-424-L-AGS-DDL
               TO DORA MEZA'S INTERROGATORIES, SETONE
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